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EXHIBIT A
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am . .
<&). CT Corporation Service of Process
Transmittal
01/27/2020
CT Log Number 537061084
TO: Timothy Horn
Whole Foods Market, Inc.
550 Bowie St
Austin, TX 78703-4644

RE: Process Served in New York

FOR: Whole Foods Market Group, Inc. (Domestic State: DE)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION: JEAN A. METZKER, PItf. vs. WHOLE FOODS MARKET GROUP, INC., Dft.
DOCUMENT(S) SERVED: Letter, Summons, Complaint, Notice, Attachment
COURT/AGENCY: New York County: Supreme Court, NY

Case # 1622152019
NATURE OF ACTION: Personal Injury - Failure to Maintain Premises in a Safe Condition - 01/13/2018
ON WHOM PROCESS WAS SERVED: CT Corporation System, New York, NY
DATE AND HOUR OF SERVICE: By Certified Mail on 01/27/2020 postmarked: "Not Post Marked”
JURISDICTION SERVED : New York
APPEARANCE OR ANSWER DUE: Within 20 Days After Receiving This Summons, Exclusive Of The Day Of Service
ATTORNEY(S) / SENDER(S): Briana M. Longo, Esq.

STEFANQ A. FILIPPAZZO, P.C.
16 Court Street, 28th Floor
Brooklyn, NY 11241
718.855.1350

ACTION ITEMS: CT has retained the current log, Retain Date: 01/27/2020, Expected Purge Date:
02/01/2020

Image SOP
Email Notification, Email Process SOP@WHOLEFOODS.COM
Email Notification, Jay Warren jay.warren@wholefoods.com

Email Notification, Timothy Horn timothy.Horn@wholefoods.com

SIGNED: CT Corporation System
ADDRESS: 1999 Bryan Street
Suite 900
Dallas, TX 75201
For Questions: 866-665-5799

SouthTeam2@wolterskluwer.com

Page 1 of 1/ SS

Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves. Recipient is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents.
ATIFIED MAIL

———

9214 9969 0°

20200) 450778
CT CORPO ORATION SYSTEM
28 UBER A ST.

NEW Y NY,.10005

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Case 1:20-cv-05259-GHW Document 1-1 Filed 07/09/20 Page 4 of 11

State of New York - Department of State

Party served:
WHOLE. FOODS MARKET GROUP,

c T CORPORATION SYSTEM
28 LIBERTY ST..
NEW YORK, NY 10005

Dear Sir/Madam:

Division of Corporations

Plaintiff/Péetitioner:

INC. i METZKER, JEAN A . ee

Enclosed herewith is a legal document which was served upon the Secretary of
State on 12/31/2019 pursuant to SECTION 306 OF THE BUSINESS CORPORATION LAW.
This copy is being transmitted pursuant to such statute to the address

provided for such purpose.

Very truly yours,

PERGEG REL

: Division of Corporations ==

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-Case 1:20-cv-05259-GHW Documenti1-1 Filed 07/09/20 Page 5 of 11

NYSCEF DOC. NO. 1

(FILED: NEW YORK COUNTY CLERK $a/18/2019 31230 2M INDEX NO. 162215/2019

RECEIVED NYSCEF: 12/18/2019

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF NEW YORK

ea a Sr lina Xx ‘Index No.:

JEAN A. METZKER,
Plaintiff,
-against-
WHOLE FOODS MARKET GROUP,

Defendant.

INC.,

Date Purchased:
Plaintiff designates:
NEW YORK County as
‘the place of trial.

The Basis of Venue:
CPLR 509
SUMMONS
. Plaintiff resides at:

wow -------------------------------- X 375 East 26 street

To the above-named Defendants

New York, New York

YOU ARE- HEREBY SUMMONED to answer the complaint in this
action and to serve a copy of your answer, or, if the complaint
is .not -served. with this
appearance, on the plaintiff's attorney(s) within 20 days after
the service of this Summons, exclusive of the day of service (or
within 30 days after the service is complete if this summons is
not personally delivered to you within the State of New York);
and in case of your failure to appear or answer, judgment will

. be taken against you by default for the Ealick demanded in the

complaint.

Dated: Brooklyn, New York

December 18, 2019

“Service List:

summons, to serve a notice of

Yours etc.,

 
  

‘STEFA A. FILIPPAZZO, P.C.

 

iana M. Longo, Esq.
Attorneys for Plaintiff

16 Court Street, 28t® Floor
Brooklyn, New York 11241
P: 718.855.1350 ‘

‘© WHOLE FOODS MARKET GROUP, INC. — Secretary of State.

lof 5
-Case 1:20-cv-05259-GHW Document 1-1 . Filed 07/09/20 Page 6 of 11

 

 

 

(FILED: NEW_YORK RK COUNTY CLERK 12/18/2019 11:30 aM INDEX NO. 162215/2019 -

 

NYSCEF DOC. NO. 1 ‘aeentieo NYSCEF: 12/18/2019.

SUPREME COURT OF THE STATE OF NEW YORK
- COUNTY OF NEW YORK

JEAN A. METZKER, ~

‘Plaintiff,
_ragainst-:
WHOLE FOODS MARKET GROUP, INC., COMPLAINT
Defendant. | -

Plaintiff by her “attorneys, STEFANO A. - PILIPPAZZO, -.P, Chg.
complaining of the Defendant, respectfully alleges: the following .

upon’ information and belief:
a BACKGROUND

» Dee . that, at ait time - herein mentioned ‘the Plaintife was
and ‘still. is a resident of. the County of New York, State of New
York. . | |
Za, That | at. all times hereinafter mentioned the o Defendant,
| WHOLE ‘FOODS MARKET GROUP, INC. \ waa sal. “still ‘iss a forbian
‘business corporation. abhor zed to conduct business ‘in the. Statie

of New York. . :
3; That - Defendant, WHOLE’ FOODS "MARKET “GROUP, INC.
maintains an “office for the: conducting of its , bpusitiess in the

County of New York.

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- Case 1:20-cv-05259-GHW' Document 1-1 Filed aula Page 7 of 11

(FILED: NEW GREE COUNTY CLERK 12/18/2019 1 Ti:s 0AM “-ENDEX NO. 162215/2019

' NYSCEF DOC. NO. "RECEIVED NYSCEF: 12/18/2019

 

 

AS AND FOR A FIRST CAUSE OF ACTION = ; Oo
4. Plaintifs repeats,. _ reiterates and realleges -eeeh and
evexy ‘ allegation contained “in! paragraphs wee . ‘through cage
. -- inclusive,. as “if hereinafter set. forth at length. - |
5, ' That on January 13, : 2018 the Defendant WHOLE FooDs
MARKET GROUP, -INC. was the owner: of the premises "denominated. 4
Union Square E., “New York, Hew York (hereinafter referred to as.
- “THE PREMISES”) . . |
6. That on: January U3, . 2018 the - Defendant” WHOLE ‘Foods /
MARKET GROUP, INC. oie the jestex-ae THE PREMISES. | |
-%, That on January * 13, 2018 the Defendant. WHOLE © FOODS.
MARKET .GROUP, “INC, Wie bhe lessee: of THE PREMISES . |
8. That on January 413, 2018 the Defendant WHOLE FOODS:
MARKET GROUP, INC. maintained THE PREMISES: | om |
| ‘9, . That Jon January 13, 2018 the Defendant WHOLE FOODS.
MARKET GROUP, INC. controlled THE PREMISES. | |
10. That: on January 13,- 2018 the Defendant ‘WHOLE FOODS 2
1. MARKET GROUP, INC. operated THE PREMISES. a
| 4a. “That on | January 13, 2018 whilé the Plaintife was
‘lawfully within mi PREMISES, she was wanmea: to “sustain severed
|. personal “injuries asa result of negligence on the ne part of this

Defendant. —

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(FILED: NEW YORK COUNTY CLERK 1271872019 Bh: 30 aS _ INDEX NO. 162215/2019

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. 12. That the incident’ complained ‘of was — ‘by reason
‘.Of ‘the. carelessness, recklessness,  negigene on part of. this
Patendane, its agents, ‘servants and/or amplepesa ‘in ‘the
sbmendites, maintenance, operation management and control of THE
PREMISES, in that this Defendant failed | to prnedile Plaintife .
with a safe place to walks in that, this Deféndant caused the
very incident complained of € which was séreseeabley iA that this. -
Defendant ‘aeeaked sada ditigenous conditions; fi that this
Defendant had notice of the aavigetous and defective conditions;:
Cin os this Defendant failed to remedy said _ dongerons
conditions; .-4n that this Defendant wae ethene careless and
: negligent

13: That as a result of the . foregoing Plaintifé sup rated
severe snd painful bodily injuries and: _ghock, was rendered: and
continues. to ‘be BM; sore, lame and ‘disabled and Plaintife? s
injuries willbe permanent. Plaintiff has incurred. and. will:
incur in ii future: considerable expenses for medica). and
hospital: care a treatment and has been prevented - from
-attending her Seeupa Lon causing a loss of. past and’ fature
earnings. | | j

14. ‘That- se negligence on the part of the Plaintiff
contributed | to the occurrence - alleged herein ‘in any manner

whatsoever.

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‘Case 1:20-ev-05259-GHW Document 1-1 Filed 07/09/20 Page 9 of 11

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NYSCEF DOC. NO. 1 _ RECEIVED NYSCEF: 12/18/2019

4

15. This action falls within one: or more of the exceptions
sat -cexth in Article 16 of the Civil Practice Law and Rules.

16. That as a result of the foregoing, Plaintiff has been
damaged in a. sum exceeding the. juxdelicttensi limits of all
lower courts. | .

| WHEREFORE the Plaintiffs demand judgment against the
balan WHOLE FOODS MARKET GROUP, INC. in the First Cause of
Action in the. sum exceeding the jurisdictional limits of all
lower courts;. together: with the costes, _ disbursements and
expenses of this action and for each: other and further relief as_
may be just and proper.

Dated: Brooklyn, New York
December 18,. 2019

Yours, etc.,
STEFANO A. FILIPPAZZO, P.C.

‘Byr“Briana M. Longo, Esq.
Attorneys for Plaintiff

- 16 Court Street, 288 Floor
Brooklyn, New York 11241

P: 718.855.1350

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Case 1:20-cv-05259-GHW Document 1-1 Filed 07/09/20 Page 10 of 11

SUPREME COURT oF THE STATE OF NEW YORK

 

 

COUNTY OF NEW YORK
xX
JEAN A. METZKER,
Plaintiff/Petitioner, -
- against - _ Index No.162215/2019
WHOLE FOODS MARKET GROUP, INC.,
Defendant/Respondent.
; x
NOTICE OF ELECTRONIC FILING
(Mandatory Case) |

(Uniform Rule § 202.5-bb)
You have received this Notice because:

1) The Plaintiff/Petitioner, whose name is listed above, has filed this case using the
New York State Courts E-filing system (“NYSCEF”), and

2) You are a Defendant/Respondent (a party) in this case. -

@ If you are represented by an attorney:
Give this Notice to your attorney. (Attorneys: see “Information for Attorneys” pg. 2).

© If you are not represented by an attorney:

You will be served with all documents in paper and you must serve and file your

- documents | in paper, unless you choose to participate in e-fi iling.

If you choose to participate i in e-filing, you must have access to a computer anda
scanner or other device to convert documents into electronic format, a connection
to the internet, and an eanall address to receive service of documents.

The benefi its of participating | in e-fi iling include:
® serving and filing your documents electronically
_ @ free access to view and print your e-filed documents
® limiting your number of trips to the courthouse
@ paying any court fees on-line (credit card needed)
To register for e-filing or for more information about how e-filing works:
“© visit: www. nycourts. goviefile- unrepresented or —

_-@ contact the Clerk's Office or Help Center at the court where the case was filed. Court
contact information can-be found at www.nycourts.gov

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.” To find legal information to help you represent yourself visit www.nycourthelp.gov

Information for Attorneys
(E-filing is Mandatory for Attorneys)

An attorney representing a party who is served with this notice must either: | ;

1) immediately record his or her representation within the. e-filed matter on the

NYSCEF site www.nycourts.goviefilé ; or

2) file the Notice of Opt-Out form with the clerk of the court where this action is .
- pending and serve on all parties. Exemptions from mandatory e-filing are limited to .

- attorneys who certify in good faith that they lack the computer hardware and/or. .

scanner and/or internet connection or that they lack (along with allemployees subject .
to their direction) the knowledge to operate such equipment. [Section 202.5-bb(e)] —
For additional information ‘about electronic filingand to create a NYSCEF account, visit the
NYSCEF website at www.nycourts.gov/efile or contact the NYSCEF Resource Genter -
. (phone: 646-386-3033; e-mail: efile@nycourts.gov). a re :

’ Dated: -December 18, 2019

 

Briana M. Longo, Esq.

 

16 Court Street, 28th Floor

 

 

 

 

 

- Name _ ep * ke gy —— —
STEFANO A. FILIPPAZZO, ma “Brooklyn, New York 11241.
“FimName a
oe 718-855-1350

Phone
E-Mail

-To: See attached.

 

"See attached.

6/6/18 -

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